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Attorney for Debtors
                              UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF IDAHO

In Re:
                                                  Case No: 21‐40516‐JDP
LON EUGENE MONTGOMERY,                            Chapter 11(V)
REBECCA LOUISE MONTGOMERY,

         Debtors.

                                    STATUS CONFERENCE REPORT
         Lon and Rebecca Montgomery, through the undersigned counsel, file this report pursuant
to §1188(c) to detail the efforts of Debtors to attain a consensual plan of reorganization.
         1.     Debtors filed their bankruptcy 31 August 2021. Dkt. No. 1. Debtors 341 Meeting of
Creditors was scheduled 5 October 2021. Dkt. No. 43. Hearing was held and concluded. Dkt. No.
75. Initial Debtor Interview was scheduled and held 29 September 2021. Court scheduled the
§1188 Status Conference for 13 October 2021. Dkt. No. 33.
         2.     Debtors have not filed a proposed Plan with the Court as yet. Most of that
proposed Plan has been drafted. A copy of that proposed has been circulated with the Trustee,
Christy Brandon, for discussion with and information to the Trustee. There are some liquidation
and payment provisions that need to be discussed and resolved with the United States Trustee
(“UST”) and Trustee before filing. The complication comes from the link and bootstrapping of
Debtors Plan with that of The Leed Corporation (“Leed Corp”), 20‐40984‐JDP, and how that
confirmed Plan alters or tweaks potential proposed provisions in the Debtors’ Plan. Debtors hope
to have such Plan filed before the Status Conference next week. Such Plan should easily be filed in
advance of the §1189(b) time frame, if not before the Status Conference.
         3.     All documents required initially in any case were immediately provided to the UST
and Trustee. Post‐petition documents and statements have also been provided. Debtor is current
on Monthly Operating Reports. Debtors have filed their Form 426 (albeit tardily) and will file this
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report (again tardily). A minor amendment to the schedules is pending for clarification and to
make the schedules more precise. UST has requested some insurance documents related to some
minor assets which are unclear if they require their own policy or would fall under a homeowner’s
policy. Debtors are still working to obtain statements on some of the stock accounts. Discussions
with UST and Trustee have been positive and fruitful. Debtors hope is to have UST and Trustee on
board before filing the proposed Plan.
        4.      This bankruptcy arises from personal guarantees of debts incurred by Leed Corp.
Leed Corp secured debts paid in full will still be provided an opportunity to file claims in Debtors’
bankruptcy should there be a default, but otherwise will not receive payment under the Debtors’
Plan. Leed Corp unsecured debts will also have an opportunity to share in dividends in Debtors’
case with an allowed claim filed and showing a personal guaranty. Liquidation on some assets are
already calculated under Leed Corp so would not be double counted under Debtors’ case.
        5.      The only anticipated cramdown will occur with Westmark Credit Union related to a
RV travel trailer. Debtors and Westmark have worked out a Stipulation which will hopefully be
filed before the Status Conference. At this point, Debtors are awaiting final approval and signature
to then file with the Court. That Stipulation with Westmark will resolve potential issues on a
cramdown debt, another debt in the Leed Corp Plan but needing clear treatment under Debtors’
Plan, and a completely unsecured debt for Debtors.
        6.      Discussions are occurring and generally agreed related to Debtors’ surrender of
collateral of a debt with a co‐debtor, their daughter, with Idaho Central Credit Union. A Stipulation
has not yet been circulated but may be approved and filed before the Status Conference.
        7.      Discussions with Debtors’ mortgage, Select Portfolio Services, have stalled. Despite
no alteration or change in the mortgage, SPS does not believe it is impaired and apparently does
not want Adequate Protection Payments. SPS does not appear to wish to engage with Debtors’
bankruptcy, other than the claim filed.
        8.      Thus far, Debtors have had contact with nearly all secured creditors. All such
creditors are generally positive and agreeable to the Plan. At this point it appears there will be
affirmative ballots from nearly every class. The unsecured creditors of the Leed Plan, the
Merchant Cash Advance (“MCA”) creditors, are an unknown at this point.
        9.      Liquidation on its face is roughly $44,297.03 on its face. However, removing those

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assets already provided for in the Leed Plan liquidation analysis, the amount drops to $16,679.66.
Debtors are anticipating a three year plan. Debtors are estimating at least $1,500 per month
available to pay to general unsecured creditors, which would amount to $54,000 to general
unsecured creditors. Those funds will come from wages of both Debtors. There may also be some
lot rental income available also for payment into the Plan, which is projected at $1,500 per year, or
$4,500 over the term of the Plan.
        10.     Debtors do not believe a separate Disclosure Statement hearing is required.
However, Debtors would request the Court enter a deadlines for balloting and for objections
before the confirmation hearing and set a confirmation hearing.


  DATED this 6 October 2021




                                                    _/s/ Paul Ross_____________________________
                                                    PAUL ROSS




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                                       CERTIFICATE OF SERVICE
        I hereby certify that on 6 October 2021, I filed the foregoing electronically through the
CM/ECF system, which caused the following parties or counsel to be served by electronic means,
as more fully reflected on the Notice of Electronic Filing:
                U.S. Trustee, ECF
                Christy Brandon, Trustee
                Andrew Jorgensen, attorney for US Trustee
                Sheila Schwager, attorney for SSP Strategies

        I further certify that on such date I served the foregoing on the following non‐CM/ECF
Registered Participants in the manner indicated:
        Via First Class mail, posted prepaid addressed as follows:
                NA

        Via certified mail, return receipt requested, addressed as follows:
                NA

                                                      _/s/ Paul Ross_____________________________
                                                      PAUL ROSS




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